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                                                                          1663
 1                       UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
 2                            RICHMOND DIVISION

 3
                                           )
 4   THE TRUSTEES OF COLUMBIA              )
     UNIVERSITY IN THE CITY OF             )
 5   NEW YORK                              )
                                           )
 6   v.                                    )     Civil Action No.:
                                           )     3:13 CV 00808
 7   NORTONLIFELOCK INC.                   )
     f/k/a SYMANTEC CORPORATION            )
 8                                         )
                                                 April 20, 2022
 9
                                 DAY 7
10                   EXPEDITED OVERNIGHT TRANSCRIPT

11                COMPLETE TRANSCRIPT OF JURY TRIAL
                 BEFORE THE HONORABLE M. HANNAH LAUCK
12                UNITED STATES DISTRICT COURT JUDGE

13   APPEARANCES:

14   John Erbach, Esquire
     Dana D. McDaniel, Esquire
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     Richmond, Virginia 23218
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18   Garrard Beeney, Esquire
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     Jessica R. Ecker, Esquire
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     New York, New York 10004
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                Counsel on behalf of the Plaintiff
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24                          KRISTA L. HARDING, RMR
                            OFFICIAL COURT REPORTER
25                       UNITED STATES DISTRICT COURT
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                                                                         1664
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                                                                         1665
 1             (The proceeding commenced at 8:14 a.m.)

 2              THE CLERK:      Day 7.    Case Number 3:13 CV 808.

 3   Trustees of Columbia University in the City of New York v.

 4   NortonLifeLock Inc.

 5              Columbia is represented by Garrard Beeney,

 6   Dustin Guzior, Alex Gross, Stephen Elliott, Jessica Ecker,

 7   John Erbach and Dana McDaniel.

 8              Norton is represented by Douglas Lumish, Michael

 9   Morin, Srinivas Pathmanaban and Dabney Carr.

10              THE COURT:      All right.      Good morning.

11              So we have some preliminary matters I would like

12   to address.

13              First, I've gotten your information about

14   Dr. Jaeger's testimony.       He's not going to testify today,

15   so I'm not going to address it.

16              Second of all, I have issued the order about

17   what defendants marked as DXEE.

18              Sit down, please.        I'm not asking you to stand

19   up.

20              I have issued an order about DXEE.               I will note

21   that the defendants have already marked DXEE, and they

22   need to clarify the record.

23              They can mark it ZZY, and the one I've ordered

24   ZZZ.   And if you don't -- you can say whatever you want to

25   about either of the orders in writing.               You don't need to
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                                                                         1666
 1   say it right now.      I want it submitted immediately.               I

 2   don't want to hear it right now.           Submit it in writing.

 3               We -- but it has to be immediate.

 4               With respect to some of the conduct in court,

 5   it's gotten a little loose and so I don't want anybody

 6   getting up and moving during testimony.              If you have to

 7   get up and leave the courtroom during testimony, you're

 8   going to leave for the entire testimony of the witness.

 9   You can't come back in.

10               It's happened a lot, and I've let it happen.

11   Doesn't generally happen in our trials.              But it has to

12   stop.    I find it distracting, and so I'm going to presume

13   that the jury finds it distracting as well.

14               It's also disrespectful if somebody is

15   testifying under oath to go back and forth, back and

16   forth.    You can get up and go, you just can't come back

17   while the testimony is going on.

18               And, finally, this issue with the cell phones.

19   I really regret that -- certainly, the use of the cell

20   phone without warning during yesterday's cross-examination

21   is entirely untoward.       It is -- we don't let cell phones

22   in the courthouse.      Alexandria and Norfolk never let them

23   in the courthouse.

24               I gave you-all some leeway by letting you have

25   them in the courtroom with no Wi-Fi, but that's done.                   I
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                                                        1667
 1   actually have seen counsel for Columbia texting during

 2   testimony, which can't happen.          And the use of the cell

 3   phone with ring tones and showing pictures of the family,

 4   it's entirely distracting and totally improper.                 So no

 5   more cell phones.      You're not having them in here.              I

 6   don't want to see them.

 7                And I want the printer removed from the

 8   vestibule.     I don't know if you are using it all, but it

 9   is going away.

10                You're going to handle this case the way that

11   every other lawyer in this jurisdiction handles it, and so

12   keep them out.      Get rid of the printer.

13                I do have this issue about the demonstratives,

14   and I'm going to consider it.          I'm going to issue a

15   written opinion.      I've told the jury to come in late, and

16   so you will wait for my opinion.

17                We can take a recess.

18                             (Recess taken.)

19                THE COURT:    Well, I have been working through

20   what it is that you submitted, and I want you to know that

21   I've told the jury not to come in.            It's going to take me

22   a while to issue what I need to issue, and so we will

23   start fresh tomorrow with what we were going to start with

24   today.   I will issue it sometime today.

25                It's just that I don't want the jury or you-all
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                                                                         1668
 1   waiting around unnecessarily.

 2              So we will adjourn until 8:00 tomorrow, I guess

 3   to speak to the Jaeger objections, all right?

 4              Okay.

 5             (The proceeding concluded at 11:20 a.m.)

 6                         REPORTER'S CERTIFICATE

 7              I, Krista Liscio Harding, OCR, RMR,
     Notary Public in and for the Commonwealth of
 8   Virginia at large, and whose commission expires
     March 31, 2024, Notary Registration Number 149462,
 9   do hereby certify that the pages contained herein
     accurately reflect the notes taken by me, to the
10   best of my ability, in the above-styled action.
          Given under my hand this 20th day of April, 2022.
11
                                             /s/
12                                   Krista Liscio Harding, RMR
                                     Official Court Reporter
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